Case No. 1:22-cv-01866-GPG-SKC Document 74-13 filed 09/11/23 USDC Colorado pg 1
                                    of 7




                 Exhibit 35 to
  The Governor’s Motion for Summary Judgment


     Rebuttal Expert Report of James Yurgealitis




            Gates et al. v. Polis, No. 1:22-cv-1866-GPG-SKC (D. Colo.)
                               September 11, 2023
Case No. 1:22-cv-01866-GPG-SKC Document 74-13 filed 09/11/23 USDC Colorado pg 2
                                    of 7




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:22-CV-1866-GPG-SKC

 BENJAMIN GATES,
 TRAVIS SWARTZ,
 KARL HONEGGER, and
 NATIONAL FOUNDATION FOR GUN RIGHTS, INC.

           Plaintiffs,

 v.

 JARED S. POLIS, in his official capacity as Governor of the State of Colorado,

           Defendant.

                  FRCP 26(a)(2)(B) REBUTTAL REPORT OF JAMES YURGEALITIS

 Pursuant to 28 U.S.C. § 1746, I, James E. Yurgealitis, declare under penalty of perjury that the

 following is true and correct:

             1.    I am over the age of eighteen (18) years, competent to testify to the matters

  contained in this report, and testify based on my personal knowledge and information.

             2.    I have been asked previously by the Defendant to prepare an expert report for

  disclosure under FRCP 26(a)(2)(B) addressing the types and operation of firearms, the operation

  and history of large capacity magazines and lower capacity magazines, and self-defense. This

  report is based on my own personal knowledge and experience, and, if I am called as a witness, I

  could and would testify competently to the truth of the matters discussed in this report. I hold all

  opinions expressed herein to a reasonable degree of professional certainty.

             3.    I prepared and submitted a report for the Defendant’s use in this case in April 2023.

             4.    I have been retained by the Defendant to serve as an expert witness in this matter.

             5.    My resume and qualifications included in my report as detailed in my initial report

      remain accurate.
                                                     1
Case No. 1:22-cv-01866-GPG-SKC Document 74-13 filed 09/11/23 USDC Colorado pg 3
                                    of 7




         6.    For my services in this case, I have been retained at a rate of $400.00 an hour for

  work and $1,600.00 per day of combined work and travel.

         7.    In my initial report I stated that if, during the course of my work in this case,

  additional research, technical or statistical materials become available or relevant they will be

  reviewed. As such I reserve the right to amend my report, opinion or testimony to include

  consideration of those materials should their relevance warrant.

         8.    Since submission of my expert report I have received, and reviewed, additional

  evidence submitted by the Plaintiffs which was not available prior to the submission of that

  report. This rebuttal report is in response to the report submitted by Plaintiffs’ expert Mark W.

  Passamaneck.

         9.    The litigation centers around C.R.S. § 18-12-302 (the Statute) which bans the sale,

  possession and transfer of large capacity magazines. The definition of “large capacity magazine”

  in C.R.S. § 18-12-301(2) means a fixed or detachable magazine, box, drum, feed strip, or similar

  device capable of accepting, or that is designed to be readily converted to accept, more than

  fifteen rounds of ammunition.

         10.   The definition also includes “(II) A fixed, tubular shotgun magazine that holds more

  than twenty-eight inches of shotgun shells, including any extension device that is attached to the

  magazine and holds additional shotgun shells.”

         11.   More simply defined a detachable firearm magazine, as defined in the statute, is a

  device which holds ammunition and facilitates continuous feeding of ammunition to a semi-

  automatic or fully-automatic firearm. When empty it can readily be detached and replaced with

  another so that firing can continue. A tubular shotgun magazine is a “fixed” magazine attached,

  or integral, to the frame, receiver or barrel of a shotgun. Unlike a detachable magazine it, being



                                                   2
Case No. 1:22-cv-01866-GPG-SKC Document 74-13 filed 09/11/23 USDC Colorado pg 4
                                    of 7




     integrated to the shotgun, is not readily detachable without tools and the magazine itself must be

     reloaded when empty to continue firing.


                                                   DISCUSSION

       I.       Magazine Terminology, Types, And Operation.

              12.   In order to respond to Mr. Passamaneck’s report detailing how firearms use

     detachable magazines, it is necessary to provide additional details about their construction and

     operation.

              13.   Detachable magazines are, generally speaking, a container which holds and

     facilitates feeding of ammunition into semi-automatic or full-automatic firearms and are

     commonly constructed of five components:

              A.) the magazine body or tube,

              B.) the magazine follower,

              C.) the magazine spring,

              D.) the magazine lock plate, and

              E.) the magazine baseplate or floorplate.

              14.   The following illustration details the five components of a detachable magazine for a

     Smith & Wesson semi-automatic pistol.1




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     Image Source: https://www.targetbarn.com/broad-side/media/partsofapistolmagazine.jpg
                                                           3
Case No. 1:22-cv-01866-GPG-SKC Document 74-13 filed 09/11/23 USDC Colorado pg 5
                                    of 7




         15.   When assembled, the magazine body contains the other four components. The

  follower is mounted at the top of the spring and the lock plate at the bottom. The spring, with the

  two components attached, is compressed into the magazine body and secured by the baseplate. It

  is loaded by pushing ammunition cartridges down into the magazine body, against the follower,

  until the desired capacity is attained. This action also further compresses the spring placing it

  under tension.

         16.   When the magazine is inserted into a semi or full-automatic firearm, the bolt of the

  firearm (rifles and shotguns) or slide (pistols) is pulled back and released, which ‘strips’ the first

  cartridge from the top of the magazine and feeds it into the chamber. Subsequent cartridges will

  be pushed upwards in the magazine body by the follower which is ‘powered’ by the spring

  tension.

         17.   It is important to note that the ability of a semi or full-automatic firearm to function

  is not dependent on the capacity of the magazine. Any firearm designed to utilize a detachable



                                                    4
Case No. 1:22-cv-01866-GPG-SKC Document 74-13 filed 09/11/23 USDC Colorado pg 6
                                    of 7




     magazine with a capacity exceeding 15 rounds will function with a magazine legal under the

     Statute. Magazine capacity is not a determinant of a firearm’s operability.

            18.    A magazine is not required for a semi-automatic firearm to function. Generally

     speaking, a semi-automatic firearm, without a magazine inserted, can be loaded manually with a

     single cartridge and fired. 2 The magazine, with additional available cartridges, is what allows the

     firearm to fire additional shots without manual manipulation of a bolt or slide.

            19.    Magazine base plates, being both a standard part of a detachable magazine and

     removable, can be replaced with aftermarket extensions. Baseplate extensions or extenders are

     available from numerous vendors and allow the loading of additional cartridges above the original

     capacity of the magazine as manufactured.

            20.    Detachable magazines are designed and manufactured to be durable and function in

     adverse conditions. As such they are not delicate devices and rarely fail in their entirety. Much as

     with any other mechanical device, malfunctions can usually be traced to damage or wear of one of

     the component parts. In my 26 year experience in Federal Law Enforcement, I only had two

     occasions where I needed to replace a cracked baseplate for one of my issued magazines. Other

     than those two occurrences, the magazines performed flawlessly while having thousands of

     rounds fired through them over a period of several years.

            21.    Polymer bodied magazines are very popular and are manufactured and / or included

     by popular handgun manufacturers such as Glock. They are also manufactured by numerous

     aftermarket suppliers such as Magpul. The chief advantages of polymer over traditional steel or




 2
   Exceptions to this include the FN / Browning “Hi Power” pistol and other firearms which incorporate a magazine
 safety (or magazine disconnect). The “Hi Power” pistol as manufactured will not fire, even with a cartridge in the
 chamber, unless a magazine is inserted into the magazine well which releases the safety. The vast majority of available
 semi-automatic pistols do not have a magazine safety. Note that as with other semi-automatic firearms the capacity of
 the magazine is not a determining factor as it will function with a Colorado complaint magazine or one of greater
 capacity.
                                                            5
Case No. 1:22-cv-01866-GPG-SKC Document 74-13 filed 09/11/23 USDC Colorado pg 7
                                    of 7




     aluminum bodied magazines are their resistance to corrosion, ability to absorb impact without

     dents or dings (which may impair function) and overall lighter weight.

             22.    Polymer bodied magazines are also inherently reliable as evidenced by the recent

     Defense Logistics Agency (DLA) award of a three year $20,000,000 contract with Magpul to

     produce their polymer bodied magazine (PMAG) for the US Armed Forces. This follows an

     earlier 2016 procurement by the US Marine Corps as well as a DLA Contract in 2017 with

     Magpul for $12,000,000. Such widespread adoption by the US Military is confirmation of the

     advantages, both in reliability and durability, of polymer bodied magazines.

           In December 2016, Magpul announced the Marines had, after a four-year testing
           evolution, adopted their MCT PMAG for use in all their 5.56mm platforms. In
           government-administered tests, the PMAG reportedly cycled 20,400 rounds of
           M855A1 ammo without any magazine-related stoppages. This, in turn, drew
           questions from lawmakers to Army Chief of Staff Gen. Mark Milley over why the
           country’s primary small arms user wasn’t fielding polymer mags. Subsequently, the
           DLA in 2017 announced a $12 million contract with Magpul to supply the Army,
           Air Force, and Marine Corps with PMAGs. 3

 I hereby declare that the above statement is true to the best of my knowledge and belief and that I

 understand it is made for use as evidence in court and is subject to penalty for perjury.


           Dated this 2nd day of June, 2023.




                                                             ___/s/ James E. Yurgealitis
                                                                 James E. Yurgealitis




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     https://www.guns.com/news/2023/01/20/magpul-grabs-20-million-pentagon-mag-contract
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